Filed 03/15/19                                                                 Case 19-90075                                                                  Doc 13

     FORM L30 Notice of Filing Report of No Distribution Combined with Order Fixing Deadline to Object ThereTo (v.8.14)                        19−90075 − E − 7

                    UNITED STATES BANKRUPTCY COURT
                         Eastern District of California
                                               1200 I Street, Suite 4
                                               Modesto, CA 95354
                                                 (209) 521−5160
                                              M−F 9:00 AM − 4:00 PM
                                              www.caeb.uscourts.gov
                                             Mailing Address:
                                 Robert T. Matsui United States Courthouse
                                         501 I Street, Suite 3−200
                                           Sacramento, CA 95814



                          NOTICE OF FILING REPORT OF NO DISTRIBUTION,
                    COMBINED WITH ORDER FIXING DEADLINE TO OBJECT THERETO

     Case Number:               19−90075 − E − 7                                        Last Day to File an Objection:          04/14/2019
     Debtor Name(s) and Address(es):
         Richard Olivar
         620 Paradise Road, Apt. C202
         Modesto, CA 95351
     OTHER NAMES USED WITHIN 8 YEARS BEFORE FILING THE PETITION:
        Tacos Colima
     Trustee:                                Irma Edmonds
                                             PO Box 3608
                                             Pinedale, CA 93650
     Telephone Number:                       (559) 221−2233
     Office of the United States Trustee:
            For cases in the Sacramento Division and Modesto Division: 501 I Street, Room 7−500, Sacramento, CA 95814
            For cases in the Fresno Division: 2500 Tulare Street, Suite 1401, Fresno, CA 93721

          NOTICE IS HEREBY GIVEN THAT: The trustee in the above case has filed a "Report of No Distribution," stating there
         are no funds available from the estate for distribution to creditors. The report contains the trustee's certification that the
         estate has been fully administered.
         IT IS ORDERED AND YOU ARE FURTHER NOTIFIED THAT: Unless an objection is filed by the United States Trustee
         or a party in interest on or before the date shown above, the Court will presume the estate fully administered and proceed
         to close the case. Any objection shall state with particularity the grounds therefor (see NOTE below), and shall be
         accompanied by a notice of hearing with the date and time filled in. Self set calendar procedures and available hearing
         dates are posted under Court Calendars on the Court's web site (www.caeb.uscourts.gov).
         The objection, notice of hearing, and any supporting documents shall be served on the trustee, and unless filed by the
         United States Trustee, transmitted to the Office of the United States Trustee by the objecting party on or before the date
         of filing with the Clerk. Proof of Service and transmittal of the objection, notice of hearing, and any supporting documents
         shall be filed concurrently with such pleadings, or within (3) court days.
         If no objections are filed, no hearing will be calendared, and after the resolution of any pending matter and the entry of an
         order granting or denying the debtor's(s') discharge, the Court will, without further notice, enter an order discharging the
         trustee and closing the case.

     Dated:                                                                             For the Court,
     3/15/19                                                                            Wayne Blackwelder , Clerk


      NOTE: Examples of matters which are appropriate grounds for hearings on objections to the trustee's report include, but are not limited to,
     failure by the trustee to collect and reduce to money the property of the estate; failure of the trustee to account for all property received; and
     failure by the trustee to investigate the financial affairs of the debtor. Examples of matters which are not appropriate for hearings on objections
     to the trustee's report include general objections to the debtor's discharge; objections to the dischargeability of specific debts; failure to be paid
     on a debt owed (except in an asset case where the trustee made a distribution in accordance with 11 U.S.C. Section 726, but improperly failed
     to include the objecting party in such distribution); and return of property.
